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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

UNITED STATES OF AMERICA,                     :
                                              :
v.                                            :       Criminal Case No. 1:18-CR-457 (AJT)
                                              :
BIJAN RAFIEKIAN, et al.                       :


                             DEFENDANT BIJAN RAFIEKIAN’S
                           MOTION TO DISMISS THE INDICTMENT

        Mr. Rafiekian, by and through counsel, respectfully moves the Court for an order

dismissing the Superseding Indictment.        The grounds for this motion, as set forth in the

accompanying memorandum of law, are that (1) Count Two should be dismissed because it fails

to state an essential element of the offense of a violation of 18 U.S.C. § 951 and because it is

unconstitutionally vague as applied to Mr. Rafiekian; and (2) Count One should be dismissed

because it fails to allege an essential fact underlying the offense of a violation of 18 U.S.C. § 371

and is otherwise infirm.

        Mr. Rafiekian respectfully requests that this motion be heard at the hearing set for June 28,

2019.

Dated: June 6, 2019                                   Respectfully submitted,

                                                      /s/
                                                      James E. Tysse (VA Bar # 73490)
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the 6th day of June 2019, true and genuine copies of Defendant

Bijan Rafiekian’s Motion to Dismiss the Indictment was sent via electronic mail by the Court’s

CM/ECF system to the following:

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                                                           /s/
                                                           Robert P. Trout (VA Bar # 13642)




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